Case 1:15-cv-00117-AJN-KNF Document 162 Filed 09/08/17 Page 1 of 33


                           Index No. 15 CV 117 (AJN)(KNF)

                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK



                           JANE DOE,

                                                                         Plaintiff,

                                                  -against-

                           THE CITY OF NEW YORK, et al,

                                                                       Defendants.




                           DEFENDANTS’ MEMORANDUM OF LAW IN
                           SUPPORT OF THEIR MOTION FOR PARTIAL
                           SUMMARY      JUDGMENT PURSUANT   TO
                           FED.R.CIV.PRO. 56


                                          ZACHARY W. CARTER
                                 Corporation Counsel of the City of New York
                                     Attorney for Defendants
                                     100 Church Street
                                     New York, N.Y. 10007

                                      Of Counsel: Michael K. Gertzer
                                      Tel: (212) 356-2654
                                      Matter #: 2015-005269
       Case 1:15-cv-00117-AJN-KNF Document 162 Filed 09/08/17 Page 2 of 33




                                                TABLE OF CONTENTS

                                                                                                                                     Page

TABLE OF AUTHORITIES ......................................................................................................... iii

STATEMENT OF FACTS ............................................................................................................. 2

LEGAL ARGUMENT .................................................................................................................... 3

STANDARD FOR SUMMARY JUDGMENT .............................................................................. 3

POINT I

                              PLAINTIFF’S MONELL CLAIM SHOULD BE
                              DISMISSED BECAUSE THERE IS NO
                              EVIDENCE SUPPORTING THE EXISTENCE OF
                              AN UNLAWFUL POLICY ........................................................................ 4

                              A. Department of Correction Policy Concerning
                                 Sexual Abuse in 2013 and 2014 .......................................................... 6

                              B. Plaintiff Cannot Show That The City Was
                                 Deliberately Indifferent To Her Constitutional
                                 Rights ................................................................................................... 9

                                     1. Hiring ...........................................................................................10

                                     2. Training........................................................................................10

                                     3. Supervision/Monitoring ...............................................................12

                                     4. Discipline .....................................................................................13

                              C. No Evidence That DOC Failed To Adequately
                                 Investigate Alleged Incidents Of Excessive
                                 Force, Assault, Sexual Exploitation And Sexual
                                 Assault of Inmates ............................................................................. 14

                              D. DOC Maintains Records of Inmate and
                                 Correction Officer Movements, and the Lack
                                 of Such Records Does Not Constitute a
                                 Constitutional Violation..................................................................... 15

                              E. There is No Evidence in the Record of a Policy
                                 of Inaction .......................................................................................... 15
       Case 1:15-cv-00117-AJN-KNF Document 162 Filed 09/08/17 Page 3 of 33




                                                                                                                                   Page

                                F. There is No Evidence That Inmate Cells Are
                                   “Unbearably” Hot, or That Plaintiff’s Cell Was
                                   Unbearably Hot .................................................................................. 16

POINT II

                                PLAINTIFF’S NEGLIGENT HIRING CLAIM
                                SHOULD BE DISMISSED BECAUSE THERE IS
                                NO EVIDENCE THAT THE CITY WAS ON
                                NOTICE    THAT           EITHER               INDIVIDUAL
                                DEFENDANT HAD A PROPENSITY TO ACT
                                AS DESCRIBED BY PLAINTIFF IN THE
                                COMPLAINT ........................................................................................... 18

POINT III

                                PLAINTIFF’S CLAIMS FOR ASSAULT AND
                                BATTERY SHOULD BE DISMISSED TO THE
                                EXTENT THEY ALSO SEEK RESPONDEAT
                                SUPERIOR LIABILITY AGAINST THE CITY
                                (PLAINTIFF’S 2ND, 13TH AND 21ST CLAIMS) ................................. 20

POINT IV

                                PLAINTIFF’S CLAIMS FOR INTENTIONAL
                                INFLICTION OF EMOTIONAL DISTRESS
                                SHOULD BE DISMISSED (PLAINTIFF’S 3RD
                                AND 14TH CLAIMS) .............................................................................. 22

POINT V

                                PLAINTIFF’S CLAIMS FOR PRIMA FACIE
                                TORT SHOULD BE DISMISSED (PLAINTIFF’S
                                11TH CLAIM) .......................................................................................... 24

POINT VI

                                PLAINTIFF’S CLAIM FOR CONDITIONS OF
                                CONFINEMENT SHOULD BE DISMISSED ........................................ 24

CONCLUSION ............................................................................................................................. 25




                                                                    ii
       Case 1:15-cv-00117-AJN-KNF Document 162 Filed 09/08/17 Page 4 of 33




                                               TABLE OF AUTHORITIES

Cases                                                                                                                              Pages

Adorno v. Correctional Services Corp.,
   312 F. Supp. 2d 505 (S.D.N.Y. 2004)......................................................................................21

Amnesty Am. v. Town of W. Hartford,
  361 F.3d 113 (2d Cir. 2004).....................................................................................................12

Bd. of the County Commissioners v. Brown,
    520 U.S. 397 (1997) ...................................................................................................................5

Belsky v. Lowenthal,
   62 A.D. 2d 319 (1st Dept. 1978)..............................................................................................24

Benjamin v. Fraser,
   343 F.3d 35 (2d Cir. 2003)...........................................................................................16, 17, 25

Black v. Town of Harrison,
   2002 U.S. Dist. LEXIS 16597 (S.D.N.Y. Sept. 5, 2002) .........................................................22

Bruno v. City of New York,
   89 Civ. 6661 (KMW), 1992 U.S. Dist. LEXIS 4921 (S.D.N.Y. Apr. 15, 1992) .......................6

Bujnicki v. American Paving and Excavating, Inc.,
   2004 U.S. Dist. LEXIS 8870 (W.D.N.Y. Mar. 30, 2004)........................................................23

C.C. v. Ithaca City School Dist.,
   304 A.D.2d 955, 758 N.Y.S.2d 197 (3rd Dep’t 2003).............................................................21

Campoverde v. Sony Pictures Entm’t,
  2002 U.S. Dist. LEXIS 18347 (S.D.N.Y. Sept. 27, 2002) .......................................................22

City of Canton v. Harris,
    489 U.S. 378 (1989) .............................................................................................................5, 10

City of Oklahoma City v. Tuttle,
    471 U.S. 808 (1985) .............................................................................................................5, 14

Connick v. Thompson,
   563 U.S. 51 (2011) ...............................................................................................................9, 11

D’Amico v. Christie,
   71 N.Y.2d 76 (1987) ................................................................................................................19

Doe v. City of New York,
   09 Civ. 9895 (SAS), 2013 U.S. Dist. LEXIS 30010 (S.D.N.Y. Mar. 4, 2013) .......................11



                                                                    iii
       Case 1:15-cv-00117-AJN-KNF Document 162 Filed 09/08/17 Page 5 of 33




Cases                                                                                                                             Pages

Druschke v. Banana Republic,
   359 F.Supp. 2d 305, 2005 U.S. Dist. LEXIS 639 (S.D.N.Y. Jan. 14, 2005) ...........................22

Eastman Kodak Co. v. Image Tech. Servs., Inc.,
   504 U.S. 451 (1992) ...................................................................................................................3

EEOC v. Die Fliedermaus, L.L.C.,
  77 F. Supp. 2d 460 (S.D.N.Y. 1999)........................................................................................23

Ehrens v. Lutheran Church,
   385 F.3d 232 (2d Cir. 2004).....................................................................................................19

United States ex rel. Evergreen Pipeline Constr. Co. v. Meritt Meridian
   Constr. Corp.,
   95 F.3d 153 (2d Cir. 1996).......................................................................................................24

Farmer v. Brennan,
   511 U.S. 825 (1994) .................................................................................................................17

Hansel v. Sheridan,
   991 F. Supp. 69 (N.D.N.Y. 1998) ............................................................................................23

Hazan v. The City of New York,
   98 Civ. 1716 (LAP) 1999 U.S. Dist. LEXIS 10499 (S.D.N.Y. July 9, 1999) .........................22

Jenkins v. City of New York,
   91 Civ. 3539 (RLC), 1992 U.S. Dist. LEXIS 8279
   (S.D.N.Y. June 15, 1992).........................................................................................................18

Kenneth R. v. Roman Catholic Diocese of Brooklyn,
   229 A.D.2d 159 (2nd Dept. 1997) ...........................................................................................19

Koren v. Weihs,
   190 A.D.2d 560, 593 N.Y.S.2d 222 (1st Dep’t 1993) .............................................................21

Lauer v. City of New York,
   240 A.D.2d 543, 659 N.Y.S. 2d 57 (2nd Dept. 1997),
   app. denied, 91 N.Y.2d 807 (1998) .........................................................................................22

Lewis v. Casey,
   518 U.S. 343 (1996) .................................................................................................................16

Lewis v. Washington,
   95 Civ. 3789 (DLC), 1996 U.S. Dist. LEXIS 18173 (S.D.N.Y. Dec. 6, 1996) .................16, 17




                                                                    iv
        Case 1:15-cv-00117-AJN-KNF Document 162 Filed 09/08/17 Page 6 of 33




Cases                                                                                                                                   Pages

Mahmood v. City of New York,
  No. 01 Civ. 5899 (SAS), 2003 U.S. Dist. LEXIS 7745 (S.D.N.Y. May 8,
  2003) ........................................................................................................................................20

Maldonado v. City of New York,
   11 Civ. 3514 (RA), 2014 U.S. Dist. LEXIS 26239
   (S.D.N.Y. Feb. 26, 2014) .........................................................................................................18

Mark Nunez, et al. v. City of New York, et al.,
  11 Civ. 5845 (LTS)(JCF) (SDNY) ..........................................................................................12

Massey v. Starbucks Corp.,
  No. 03 Civ. 7279 (SAS), 2004 U.S. Dist. LEXIS 12993
  (S.D.N.Y. July 12, 2004) .........................................................................................................20

Matsushita Elec. Indus. Co. v. Zenith Radio Corp.,
   475 U.S. 574 (1986) ...................................................................................................................3

McIntyre v. Manhattan Ford, Lincoln-Mercury, Inc.,
   256 A.D.2d 269, 682 N.Y.S.2d 167 (1st Dep’t 1998) .............................................................23

McKenzie v, Dow Jones & Co.,
  355 Fed. Appx. 533 (2d Cir. 2009) ..........................................................................................24

Monell v. Dep’t of Soc. Servs.,
  436 U.S. 658 (1978) .............................................................................................................5, 14

Moore v. The City of New York,
  219 F. Supp. 2d 335 (E.D.N.Y. 2002) .....................................................................................23

Murphy v. American Home Products Corp.,
  58 N.Y.2d 293, 461 N.Y.S.2d 232 (1983) ...............................................................................22

N.X. v. Cabrini Med Ctr.,
   739 N.Y.S.2d 348 (2002) .........................................................................................................21

N.X. v. Cabrini Med. Ctr.,
   97 N.Y.2d 247 (2002) ..............................................................................................................20

National Nutritional Foods Ass’n v. Whelan,
   492 F. Supp. 374 (S.D.N.Y. 1980) ..........................................................................................24

Pembaur v. City of Cincinnati,
   475 U.S. 469 (1986) ...................................................................................................................5




                                                                        v
       Case 1:15-cv-00117-AJN-KNF Document 162 Filed 09/08/17 Page 7 of 33




Cases                                                                                                                              Pages

Posr v. Killackey,
   01 Civ. 2320 (LTS)(GWG), 2003 U.S. Dist. LEXIS 12755
   (S.D.N.Y. July 25, 2003) ...........................................................................................................4

Reynolds v. Giuliani,
   506 F. 3d 183 .....................................................................................................................10, 11

Ricciuti v. N.Y.C. Transit Authority,
   941 F.2d 119 (2d Cir. 1991).......................................................................................................5

Ross v. Mitsui Fudosan, Inc.,
   2 F. Supp. 2d 522 (S.D.N.Y. 1998) .........................................................................................21

Russell v. Meat Farms, Inc.,
   160 A.D.2d 987, 554 N.Y.S.2d 709 (2d Dep’t 1990) ..............................................................22

Ruza v. Ruza,
   286 A.D. 767 (1st Dept. 1955).................................................................................................24

Sarus v. Rotundo,
   831 F.2d 397 (2d Cir. 1987).......................................................................................................5

Singh v. U.S. Security Associates, Inc.,
   03 Civ. 2059 FM), 2005 U.S. Dist. LEXIS 1407 (S.D.N.Y. Feb. 1, 2005) .............................23

Smith v. Montefiore Med. Center-Health Servs. Div.,
   22 F. Supp. 2d 275 (S.D.N.Y. 1998)..........................................................................................6

Stavitz v. City of New York,
    98 A.D.2d 529, 471 N.Y.S.2d 272 (1st Dep’t 1984) ...............................................................20

Sylvester v. The City of New York,
    385 F. Supp. 2d 431 (S.D.N.Y. 2005)......................................................................................22

Tomka v. Seiler Corp.,
   66 F.3d 1295 (2d Cir. 1995).....................................................................................................21

Wahlstrom v. Metro-North Commuter R.R.,
  No. 96 Civ. 3589 (PKL), 1998 U.S. Dist. LEXIS 5666
  (S.D.N.Y. Apr. 23, 1998) .........................................................................................................21

Walker v. City of New York,
   974 F.2d 293 (2d Cir. 1992).....................................................................................................10




                                                                    vi
        Case 1:15-cv-00117-AJN-KNF Document 162 Filed 09/08/17 Page 8 of 33




Cases                                                                                                                                Pages

Wilson v. Diocese of N.Y. of the Episcopal Church,
   No. 96 Civ. 2400 (SAS), 1998 U.S. Dist. LEXIS 2051
   (S.D.N.Y. Feb. 23, 1998) .........................................................................................................21

Wray v. City of New York,
   490 F.3d 189 (2d Cir. 2007).................................................................................................9, 10

Young v. County of Fulton,
   160 F.3d 899 (2d Cir. 1998).......................................................................................................5

Statutes

Fed.R.Civ.Pro. 56.........................................................................................................................1, 3

Penal Law §130.05...........................................................................................................................7

§ 1983.....................................................................................................................1, 5, 9, 10, 23, 24




                                                                     vii
        Case 1:15-cv-00117-AJN-KNF Document 162 Filed 09/08/17 Page 9 of 33




                         MEMORANDUM OF LAW IN SUPPORT OF
                         DEFENDANTS’ MOTION FOR PARTIAL
                         SUMMARY JUDGMENT

                 Defendants City of New York (“City”), Pablo Porter and Emma Williams file this

memorandum of law in support of their motion pursuant, to Fed.R.Civ.Pro. 56, seeking partial

summary judgment.

                 On or about January 7, 2015, plaintiff filed her initial complaint, which she

subsequently amended three times.           The most recent filed complaint, the Third Amended

Complaint (the “Complaint”), was filed on October 6, 2016. In it, plaintiff alleges 32 separate

claims. 1 By stipulation executed in August 11, 2017, and entered on August 17, 2017 (Dkt. No.

159), plaintiff agreed to dismiss her 4th, 5th, 6th, 7th, 8th, 9th, 15th, 16th, 17th, 18th, 19th, 20th, 22nd,

23rd, 24th, 25th, 26th, 27th, 28th, 29th and 30th claims. 2 Defendants now seek to dismiss plaintiff’s

claims for: (1) Monell liability (Claim 32); (2) negligent hiring, training, supervision, discipline,

staffing and retention (the “Negligent Hiring Claim,” Claim 31); (3) assault and battery as they

pertain to a claim of respondeat superior against the City (Claims 2, 13 and 21); (4) intentional

infliction of emotional distress (“IIED,” claims 3 and 14); (5) prima facie tort (Claim 11); and (6)

conditions of confinement (part of Claim 1). 3



1
  Rather than simply plead, for example, a single excessive force claim, plaintiff chose to assert a
separate excessive force claim for each specified incident in the Complaint. Plaintiff followed
the same practice with respect to her claims for assault and battery and intentional infliction of
emotional distress.
2
    Plaintiff also dismissed all remaining unidentified John Doe defendants.
3
  Thus, should defendant’s motion be granted the remaining claims would and should be: (1)
Section 1983 claims for excessive force, (claims 1 and 12); and (2) assault and battery against
the individual defendants without a claim of respondeat superior (claims 2, 13 and 21). To the
extent plaintiff makes mention of “unlawful restraint” perhaps this is part of her excessive force
claim.
    Case 1:15-cv-00117-AJN-KNF Document 162 Filed 09/08/17 Page 10 of 33




               As will be set forth below, because discovery yielded no evidence in support of

the aforementioned claims, partial summary judgment is appropriate and these claims should be

dismissed.

                                  STATEMENT OF FACTS

               This action arises out of two separate incarcerations of plaintiff at the Rose M.

Singer Center (“RMSC”) from October 11-17, 2013 and from January 16-27, 2014. Although

defendants’ own records pertaining to plaintiff reflect that her incarcerations were uneventful,

plaintiff alleges that during these two brief periods she was repeatedly sexually and otherwise

physically assaulted by various DOC staff including defendants Porter and Williams. 4 Aside

from plaintiff’s own account,                                                                    ,

there is virtually no evidence in support of her claims. Plaintiff never notified Department of

Correction (“DOC”) of any of these alleged incidents, so DOC was neither aware of nor

investigated them (Doe. Dep Tr. at 256:10-14). There is no DOC record corroborating plaintiff’s



4
   While the details of plaintiff’s underlying account are not very salient to this motion,
defendants will provide a brief description of plaintiff’s claims as background. Plaintiff alleges
that after arriving from Criminal Court to RMSC on October 11, 2013, she was taken to a pen in
Intake, and then sent to the RMSC clinic where she was sexually molested by her unidentified
examining doctor. After returning from the clinic to the Intake pen, she remained in the pen until
all other occupants had been taken to their respective housing areas. Now alone, she claims that
defendants put her in a van and took her to a bathroom in an unused and isolated area of RMSC,
where she was repeatedly sexually assaulted overnight, including with a flashlight and with
pepper spray, until the morning of October 12. Plaintiff also claims she was forced to drink
soapy water during this incident. The motivation for these attacks was apparently a combination
of her looks and her purported status as a confidential informant for the Department of
Homeland Security. In January, 2014 plaintiff was briefly incarcerated again and alleges a
number of assaults and incidents occurred, including claims that on several occasions she was
taken to a room near the RMSC clinic by defendant Williams and, inter alia, repeatedly forced to
place a comb in her vagina, compelled to perform oral sex upon a number of DOC staff, and
forced again to drink soapy water. Plaintiff does not allege that defendant Porter sexually
assaulted her in January, 2014, and she asserts no claims against Porter arising from that
incarceration.


                                                2
    Case 1:15-cv-00117-AJN-KNF Document 162 Filed 09/08/17 Page 11 of 33




allegations and such DOC documents that do mention plaintiff tend to contradict her account. 5

Plaintiff’s allegations were investigated by the Bronx District Attorney’s Office, who ultimately

closed their investigation without issuing any indictments.

               Despite extensive discovery, during which defendants produced over 10,000

pages of documents, no additional evidence has surfaced to support plaintiff’s claims. While

plaintiff’s own sworn account of the alleged incidents precludes defendants from seeking

summary judgment dismissing the entire case, many of her claims can be dismissed because of

an absence of evidence in the record as set forth below.

                                     LEGAL ARGUMENT

                        STANDARD FOR SUMMARY JUDGMENT

               Summary judgment is warranted when, viewing the evidence in the light most

favorable to the non-moving party, the Court determines that there is no genuine issue of

material fact. See Fed. R. Civ. P. 56; Eastman Kodak Co. v. Image Tech. Servs., Inc., 504 U.S.

451, 457 (1992). While courts must resolve all ambiguities and draw all factual inferences in

favor of the non-moving party in deciding whether a genuine issue of material fact exists,

nevertheless, once a motion for summary judgment is made and supported, the non-moving party

must come forward with specific facts showing there is a genuine issue for trial. See Matsushita

Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986) (citation omitted). If the non-

moving party’s evidence “is merely colorable, or is not significantly probative,” or if it consists


5
  Defendants are only seeking partial summary judgment. Nevertheless, the evidentiary record at
trial will show that (1) contemporaneous logbooks reflect plaintiff traveled to the clinic and
thence to her housing area in the company of other inmates, and was not separated from other
inmates;




                                                3
     Case 1:15-cv-00117-AJN-KNF Document 162 Filed 09/08/17 Page 12 of 33




only of “conjecture or surmise,” summary judgment may be entered against that party. Posr v.

Killackey, 01 Civ. 2320 (LTS)(GWG), 2003 U.S. Dist. LEXIS 12755, at *7-8 (S.D.N.Y. July 25,

2003) (internal citations omitted).

                                            POINT I

                         PLAINTIFF’S MONELL CLAIM SHOULD BE
                         DISMISSED BECAUSE THERE IS NO
                         EVIDENCE SUPPORTING THE EXISTENCE
                         OF AN UNLAWFUL POLICY

               Plaintiff’s multifaceted Monell claim (Claim No. 32, ¶¶265-288) alleges the

following unlawful policies and practices caused plaintiff’s claimed injuries:

               1. A failure to hire, train, supervise, monitor and discipline DOC employees

                   “with respect to the treatment and welfare of inmates, especially female

                   pretrial detainees and inmates.” (Complaint at ¶271);

               2. Failure to adequately investigate and remedy incidents of excessive force,

                   assault, sexual exploitation and sexual assault of inmates; failing to disclose

                   allegations made by inmates of sexual assault/exploitation by correction

                   officers and medical personnel; failing to preserve these allegations in in

                   accessible and available files; and failing to preserve and produce evidence

                   probative of these allegations (Complaint at ¶271);

               3. Failure to maintain “real-time, reliable, tamper-proof records of the location

                   and movement of inmates” as well as correction officers (Complaint at ¶272-

                   3);

               4. A policy of inaction (Complaint at ¶274); and

               5. The placement of inmates in cells that are unbearably hot (Complaint at ¶275).




                                                4
    Case 1:15-cv-00117-AJN-KNF Document 162 Filed 09/08/17 Page 13 of 33




               In order to hold a municipality liable as a “person” within the meaning of § 1983,

a plaintiff must demonstrate that a policy or custom of the City of New York caused the

deprivation of his or her federal or constitutional rights. Monell v. Dep’t of Soc. Servs., 436 U.S.

658, 690-91 (1978); Sarus v. Rotundo, 831 F.2d 397, 400 (2d Cir. 1987). Under § 1983, a

municipality may not be held liable solely on the basis of respondeat superior. Monell, 436 U.S.

at 694; Ricciuti v. N.Y.C. Transit Authority, 941 F.2d 119, 122 (2d Cir. 1991). Rather, plaintiff

must demonstrate “a direct causal link between a municipal policy or custom and the alleged

constitutional deprivation.” City of Canton v. Harris, 489 U.S. 378, 385 (1989). In fact, the

identified municipal policy or practice must be the “moving force [behind] the constitutional

violation.” Monell, 436 U.S. at 694. Because plaintiff claims that DOC officers violated her

rights pursuant to alleged municipal policy, a “rigorous standard[] of . . . causation must be

applied” to avoid liability on the basis of respondeat superior. Bd. of the County Commissioners

v. Brown, 520 U.S. 397, 405 (1997). Plaintiff cannot meet this standard based upon the record.

               A single isolated incident alleged in a complaint, especially where the alleged

incident involves only officials below the policymaking level, will not suffice to establish a

municipal policy or custom. City of Oklahoma City v. Tuttle, 471 U.S. 808, 824 (1985); Ricciuti,

941 F.2d at 123. “The ‘official policy’ requirement was intended to distinguish acts of the

municipality from acts of employees of the municipality, and thereby make clear that municipal

liability is limited to action for which the municipality is actually responsible” Pembaur v. City

of Cincinnati, 475 U.S. 469, 479 (1986) (emphasis in original).

               Finally, conclusory allegations of a municipality's pattern or policy of

unconstitutional behavior are insufficient to establish a Monell claim, absent evidence to support

such an allegation. Young v. County of Fulton, 160 F.3d 899, 903-04 (2d Cir. 1998) (affirming




                                                 5
     Case 1:15-cv-00117-AJN-KNF Document 162 Filed 09/08/17 Page 14 of 33




dismissal of plaintiff's Monell claim because “her allegations failed to establish that she suffered

any deprivation of her rights by reason of an official policy, custom, or practice” of the

municipal defendants); Smith v. Montefiore Med. Center-Health Servs. Div., 22 F. Supp. 2d 275,

283 (S.D.N.Y. 1998) (summary judgment for defendants on Monell claim because “bare

allegations of . . . a policy or custom, without any supporting evidence, do not constitute . . .

proof”); cf. Bruno v. City of New York, 89 Civ. 6661 (KMW), 1992 U.S. Dist. LEXIS 4921, at *6

(S.D.N.Y. Apr. 15, 1992) (plaintiff's conclusory allegation that “constitutional violations were

pursuant to a custom, policy or practice of the City of New York Police Department” insufficient

to state a Monell claim).

               For each sub-part of plaintiff’s Monell claim, there is (1) no evidence that such a

policy exists; or (2) even if, arguendo, such a policy or practice exists, there is no evidence that it

caused plaintiff’s injuries; or (3) there is no evidence that the plaintiff suffered an injury as a

result of the alleged occurrence.

A.     Department of Correction Policy Concerning Sexual Abuse in 2013 and 2014

               In 2013 and 2014 the City had extensive policies and practices designed to

prevent and investigate sexual assaults or abuse of inmates by DOC staff. These efforts include

DOC Directive 5010R-A “Preventing Inmate Sexual Abuse” (annexed to the Declaration of

Michael K. Gertzer, the “Gertzer Decl.” as Exhibit A)6, and Memorandum 01/08 entitled

“Undue Familiarity and Prevention of Sexual Abuse of Inmates by Staff and Other Inmates”

(annexed to the Gertzer Decl. as Exhibit B). Directive 5010R-A sets forth in pertinent part:



6
  In 2016 Directive 5010R-A was significantly revised and expanded as Directive 5011,
“Elimination of Sexual Abuse and Sexual Harassment” to ensure full compliance with the Prison
Rape Elimination Act (“PREA”). Directive 5011 is annexed to the Gertzer Declaration as
Exhibit C.


                                                  6
    Case 1:15-cv-00117-AJN-KNF Document 162 Filed 09/08/17 Page 15 of 33




                 I.   POLICY

                 •    The New York City Department of Correction (DOC) has a
                      zero tolerance policy with regard to sexual abuse and
                      sexual threats. All sexual conduct, including sexual
                      contact, is prohibited. All allegations of sexual abuse and
                      sexual threats shall be promptly and thoroughly
                      investigated.

                 •    Sexual conduct by staff with a person committed to the
                      custody of the Department is a crime.

                 •    Any sexual abuse of an inmate by a staff member will
                      result in disciplinary action and will be prosecuted to the
                      fullest extent of the law

                 •    All staff are responsible for being alert to the signs of
                      potential situations in which sexual abuse might occur and
                      signs of victimization.

                 •    Any staff member who has either knowledge or reasonable
                      belief or receives an allegation that an incident or threat of
                      sexual abuse has occurred and fails to report such
                      information will be subject to disciplinary action.

              Also in effect at the time of plaintiff’s incarcerations at RMSC was DOC

Memorandum 01/08 which states in pertinent part:

                 •    One of the worst offenses staff can commit is to engage in
                      any sexual conduct with an inmate or make sexual threats.

                 •    The Department of Correction has zero tolerance for sexual
                      abuse of inmates. No one is allowed to have sexual contact
                      with any person who is incarcerated… (emphasis in
                      original).

                 •    In addition to Department policy, New York State Law
                      clearly states that inmates are not able to give consent
                      sexual conduct with an employee. (Penal Law §130.05)

                 •    The personal consequences for an employee who has any
                      sexual contact with an inmate or sexually threatens an
                      inmate are severe. Not only will that individual be
                      terminated but they will also be arrested and criminally
                      prosecuted. In convicted they face imprisonment and
                      registration as a sex offender. The employee may also be


                                                7
    Case 1:15-cv-00117-AJN-KNF Document 162 Filed 09/08/17 Page 16 of 33




                      required to pay monetary damages to the inmate out of his
                      or her pocket.

                                           *       *      *

                  •   All allegations of sexual abuse and sexual threats will be
                      investigated promptly and thoroughly

                                             *       *      *
                  •   Any employee who receives a report of inmate-on-inmate
                      sexual abuse, must immediately notify their supervisor. An
                      employee who intentionally fails to report such information
                      will be subject to disciplinary charges.

               (emphasis in original).

               The deposition testimony of former Chief of Department Evelyn Mirabal 7 reflects

that Directive 5010R-A and Memorandum 01/08 were implemented and followed during her

tenure at DOC. Copies of Directive 5010R-A were “provided to the staff in a variety of way.

They can get a copy from security or programs or any of the officers. When they take the

captain’s exam they’re provided with all the directives rules and regulations so they can study

it.” (Mirabal Dep. at 152:9-15, relevant portions of the deposition of Evelyn Mirabal are

annexed to the Gertzer Decl. as Exhibit D) Officers are also trained to comply with the

Directive during their block training (Exhibit D at 152:16-21). The directive is also available

online (Exhibit D at 152:22-23). Correction officers are thus expected to be aware of this

Directive (Exhibit D at 153:2-6).

               Mirabal testified that all allegations of sexual abuse are either forwarded to

DOC’s Investigation Division or to the Department of Investigation Inspector General’s Office

(Exhibit D at 114:8-11). Employees who were found to have sexually abused an inmate “would

most likely be terminated… They might even go to jail depending upon the disposition of the

7
  Chief Mirabal was Chief of the Department from January 1, 2013 until her retirement on April
1, 2014. Prior to that she had been warden of RMSC (Mirabal Dep. at 10:18-22, 19:20-20:9).


                                               8
     Case 1:15-cv-00117-AJN-KNF Document 162 Filed 09/08/17 Page 17 of 33




investigation” (Exhibit D at 115:14-22). Phone numbers for the Inspector General are “posted in

every housing area and the front gate and everyplace else, the locker rooms where confidential

reports like that could be made. There are confidential phone numbers posted in every inmate

housing area, in the intake area” (Exhibit D at 118:19-25, 163:18-25). If an inmate makes an

allegation of sexual abuse directly to the IG or to DOC ID, that allegation is kept confidential—

others in the jail will not be advised (Exhibit D at 123:2-11). Mirabal testified that allegations of

sexual abuse were not frequent, but when they occurred they are, “treated very aggressively and

everybody is taken into consideration.” (Exhibit D at 141:22-142:6). While an investigation into

an allegation of sexual abuse is ongoing, the subject officer is immediately transferred (Exhibit D

at 157:3-18). Other correction officers are unlikely to hinder the investigation because they too

would be in jeopardy of criminal charges (Exhibit D at 165:20-166:24).

B.     Plaintiff Cannot Show That The City Was Deliberately Indifferent To Her
       Constitutional Rights

               The first section of plaintiff’s Monell claim alleges that the City had a policy of

failing to hire, train, supervise, monitor and discipline DOC employees with respect to the

treatment and welfare of inmates, especially female inmates. A municipality’s failure to train or

supervise its employees may constitute a “policy” or “custom,” but a plaintiff premising liability

on a claim of failure to train or supervise must show that “the failure amounts to ‘deliberate

indifference’ to the rights of those with whom the city employees interact.” Wray v. City of New

York, 490 F.3d 189, 195 (2d Cir. 2007). “Deliberate indifference,” as the Supreme Court

cautioned, “is a stringent standard of fault, requiring proof that a municipal actor disregarded a

known obvious consequence of his action.” Connick v. Thompson, 563 U.S. 51, 61 (2011)

(emphasis added). Although a municipality may be liable under § 1983 for its policies or

customs, only “[i]n limited circumstances [can] a local government’s decision not to train certain



                                                 9
       Case 1:15-cv-00117-AJN-KNF Document 162 Filed 09/08/17 Page 18 of 33




employees about their duty to avoid violating citizens’ rights [] rise to the level of an official

government policy for purposes of § 1983.” Id. (“municipality’s culpability for a deprivation of

rights is at its most tenuous where a claim turns on a failure to train”). “Plaintiffs are required to

submit evidence that defendants knew to a moral certainty that the City would confront a given

situation; the situation presented the City with a difficult choice or there was a history of its

mishandling the situation; and the wrong choice by the City would frequently cause the

deprivation of plaintiffs' rights.” Reynolds v. Giuliani, 506 F. 3d 183, 192 citing Walker v. City

of New York, 974 F.2d 293, 297-298 (2d Cir. 1992). In short, the inquiry is whether the record

reflects that the municipality’s inaction was the result of a conscious choice and not mere

negligence. City of Canton v. Harris, 489 U.S. at 389. As will be further discussed below,

whether one looks at the DOC’s hiring, training, supervision or discipline of its employees, the

only conclusion is that either no unlawful policy exists and that plaintiff could not have been

injured by an unlawful policy.

      1. Hiring

                  Even if, arguendo, the City was deliberately indifferent in its hiring of DOC staff,

which it was not, there is no evidence in the record of any unlawful behavior by Porter or

Williams prior to their hiring by DOC. 8 Thus, because no lawful hiring policy could have

prevented the individual defendants from being hired, the City’s hiring policies could not have

been the cause of plaintiff’s injury.

         2. Training

                  “[W]here (as here), a city has a training program, a plaintiff must . . . identify a

specific deficiency in the city’s training program and establish that that deficiency is closely


8
    Indeed, plaintiff has dismissed her state Negligent Hiring Claim against Williams.


                                                   10
     Case 1:15-cv-00117-AJN-KNF Document 162 Filed 09/08/17 Page 19 of 33




related to the ultimate injury, such that it actually caused the constitutional deprivation.” Wray,

490 F.3d at 196 (internal quotation marks and citations omitted; emphasis added). “[A] training

program must be quite deficient in order for the deliberate indifference standard to be met: the

fact that training is imperfect or not in the precise form a plaintiff would prefer is insufficient to

make such a showing.” Reynolds, 506 F.3d at 193.

                To succeed on a training “deliberate indifference” theory, a plaintiff must show

that (i) “city policymakers are on actual or constructive notice that a particular omission in their

training program causes city employees to violate citizens’ constitutional rights,” and

notwithstanding such notice, (ii) “the policymakers choose to retain that program.” Connick, 563

U.S. at 61. With respect to claims alleging failure to train, it is “ordinarily necessary” to

establish a “pattern of similar constitutional violations by untrained employees.” Id. at 62

(“Without notice that a course of training is deficient in a particular respect, decisionmakers can

hardly be said to have deliberately chosen a training program that will cause violations of

constitutional rights”).

                There is no evidence in the record that DOC was deliberately indifferent in the

way it trained its employees concerning sexual assaults or abuse of inmates. Even if this were

not the case, the City could not have been deliberately indifferent because the conduct alleged in

the Complaint is so manifestly heinous and unlawful that even in the absence of a training

program, any DOC correction officer would have been aware that such conduct would have been

illegal. See e.g. Doe v. City of New York, 09 Civ. 9895 (SAS), 2013 U.S. Dist. LEXIS 30010, at

*14-15 (S.D.N.Y. Mar. 4, 2013)(in action arising from plaintiff’s rape by a police officer,

plaintiff’s Monell claim alleging, inter alia, failure to train dismissed: “It goes without saying

that a police officer is prohibited from sexually assaulting an intoxicated woman…”). Put




                                                 11
     Case 1:15-cv-00117-AJN-KNF Document 162 Filed 09/08/17 Page 20 of 33




another way, no deficiency in defendants’ training program could have reasonably led to

plaintiff’s alleged injuries.

            3. Supervision/Monitoring

                In order to show that the City failed to properly supervise its employees, plaintiff

must show that “policymakers were knowingly and deliberately indifferent to the possibility that

its [employees] were wont to violate the constitutional rights of [inmates].” Amnesty Am. v.

Town of W. Hartford, 361 F.3d 113, 127 (2d Cir. 2004). Thus, plaintiff must show “the need for

more or better supervision to protect against constitutional violations was obvious” and that no

meaningful attempt to curb the unconstitutional conduct was made. Id.

                There is no evidence that the City was deliberately indifferent in the way it

supervised its correction officers. DOC jails operate under a chain of command from correction

officers up to the warden. Each officer has a supervisor for their tour (Williams Dep. at 215:6-

16, relevant excerpts of the Williams Dep. are annexed to the Gertzer Decl. as Exhibit E, Porter

Dep. at 14:11-21, relevant portions of the Porter Dep. are annexed to the Gertzer Decl. as

Exhibit F). Movements of staff and inmates are recorded in various logbooks maintained

throughout the facility (Exhibit E at 30:6-9, 87:2-90:18, 134:14-138:20, 158:21-167:14).

Moreover, video cameras are placed throughout the jails, a fact that correction officers are well

aware (Exhibit F at 74:3-20). 9 There is no evidence in the record that the City was aware that the

need for better supervision was obvious, and that no meaningful effort to curb unconstitutional

conduct was made.


9
  Because plaintiff never told anyone at DOC that she had been sexually assaulted, no RMSC
video, which could have either corroborated or disproved her account, was preserved. Moreover,
because of the consent decree entered on October 21, 2015, in Mark Nunez, et al. v. City of New
York, et al., 11 Civ. 5845 (LTS)(JCF) (SDNY) (Dkt. No. 249 at pp. 28-31), camera coverage is
being greatly expanded as 7,800 additional cameras will be installed by February 28, 2018.


                                                 12
     Case 1:15-cv-00117-AJN-KNF Document 162 Filed 09/08/17 Page 21 of 33




               Indeed, the record shows that DOC was concerned about the possibility of sexual

abuse or assault of inmates and enlisted an outside vendor, the Moss Group, to conduct an audit

of DOC to ascertain what steps DOC could take to ensure compliance with the Prison Rape

Elimination Act (“PREA”).

               4. Discipline

               There is no evidence that DOC failed to properly discipline its officers. As

discussed above, all allegations of sexual abuse or assault are investigated either by DOC ID, or

by DOI.    Any substantiated allegations could, and likely would, result in termination and

criminal charges.

               Even if, arguendo, the City was deliberately indifferent there is no evidence that

such a policy or practice injured plaintiff. There is no record of any allegation of sexual abuse or

assault made against defendant Williams, the sole named defendant concerning plaintiff’s

January, 2014, allegations, so no disciplinary policy would have been effective against her (and

thus any Monell claim concerning failure to discipline in January, 2014, must also fail). Indeed

plaintiff herself dismissed Williams from her state Negligent Hiring claim, presumably for this

reason.




                                             . 10 Again, even if plaintiff’s account is taken as true,




10




                                                13
     Case 1:15-cv-00117-AJN-KNF Document 162 Filed 09/08/17 Page 22 of 33




there is no evidence that Porter was previously insufficiently disciplined, or that any failure

thereof was the cause of plaintiff’s injuries.         Even if this investigation substantiated the

allegations against Porter, it would not have proven that an unlawful policy existed, because a

single incident is not sufficient to prove a policy or practice exists. Tuttle, 471 U.S. at 824.

C.     No Evidence That DOC Failed To Adequately Investigate Alleged Incidents Of
       Excessive Force, Assault, Sexual Exploitation And Sexual Assault of Inmates

               As discussed in Point I(A)(4), supra, there is no evidence in the record that DOC

fails to investigate alleged incidents of sexual assault or excessive force. In fact, the record

shows the precise opposite. DOC investigates all allegations of sexual abuse. (Exhibit D. at

114:8-11) In fact, in discovery defendants turned over 4000 pages of prior investigations of

sexual assaults at RMSC during the period 2011-2016.

               Even if it were true that DOC’s investigations were inadequate, plaintiff cannot

prevail on this portion of her claim because there is no record that plaintiff told anyone at DOC

that these alleged assaults had occurred (

                                                                                   ). DOC was never

put on notice about plaintiff’s allegations and no investigation was commenced. 11 Thus, the

alleged policy could not have been the driving force behind the alleged constitutional deprivation

Monell, 436 U.S. at 694.




11
    The Bronx District Attorney’s Office conducted its own investigation into plaintiff’s
allegations and issued no indictments.


                                                  14
       Case 1:15-cv-00117-AJN-KNF Document 162 Filed 09/08/17 Page 23 of 33




D.        DOC Maintains Records of Inmate and Correction Officer Movements, and the
          Lack of Such Records Does Not Constitute a Constitutional Violation

                 The third portion of plaintiff’s Monell claim alleges that the City fails to maintain

“real-time, reliable, and tamper-proof records of the location and movements of correction

officers, and their interaction with inmates, especially female pretrial detainees and female

inmates” (Complaint at ¶272-273). In fact, DOC does in fact maintain numerous handwritten

and computerized records of the movements of staff and inmates (Exhibit E at 30:6-9, 87:2-

90:18, 134:14-138:20, 158:21-167:14).        As plaintiff is well aware, defendants turned over

numerous logbooks and rosters in discovery that record the comings and goings of both DOC

staff and inmates, including plaintiff on the dates in question. 12 There is no evidence in the

record that any records were falsified or tampered with.

                 There is no evidence in the record that such a practice exists, and even if there

were, there is no evidence that such a policy or practice led to plaintiff’s alleged injuries. Nor has

plaintiff identified other examples of this practice, aside from her own incident.            Finally

defendants submit that a failure to maintain records does not constitute a violation of one’s

constitutional rights.

E.        There is No Evidence in the Record of a Policy of Inaction

                 This portion of plaintiff’s Monell claim appears to be essentially identical to

plaintiff’s allegation that the City failed to properly hire, train supervise, monitor and discipline

its employees. Thus, the Court is respectfully referred to Point I(A), supra.




12
     Including for Intake, the RMSC Clinic, and plaintiff’s housing area.


                                                  15
     Case 1:15-cv-00117-AJN-KNF Document 162 Filed 09/08/17 Page 24 of 33




F.       There is No Evidence That Inmate Cells Are “Unbearably” Hot, or That Plaintiff’s
         Cell Was Unbearably Hot

               Plaintiff alleges that on one occasion she was placed in a cell that was too hot

(Complaint at ¶¶83-86, 275).      Although this claim should fail for the reason that plaintiff

essentially purports to base this claim upon a single instance, her own, 13 plaintiff also cannot

show that (1) her cell was too hot, or (2) that she suffered any injury as a result of the allegedly

hot cell. 14

               As essentially a conditions of confinement claim, 15 plaintiff’s claim is properly

brought under the Due Process Clause of the Fourteenth Amendment.            In order to prevail on

such a claim, plaintiff must first show that she sustained actual, substantial and significant

injuries as a result of the conditions of her confinement. See Benjamin v. Fraser, 343 F.3d 35,

51 (2d Cir. 2003) (“To establish the deprivation of a basic human need… [plaintiff] must show

‘actual or imminent harm’”) (quoting Lewis v. Casey, 518 U.S. 343, 350 (1996)); Lewis v.

Washington, 95 Civ. 3789 (DLC), 1996 U.S. Dist. LEXIS 18173, at *9 (S.D.N.Y. Dec. 6, 1996)

(“it is clear that plaintiff must show he sustained a significant injury as a result of defendant’s

conduct in order to prevail under the Fourteenth Amendment’s Due Process Clause”).




13
   Plaintiff’s complaint mentions a second instance ¶275, where a hot cell allegedly led to the
death of another inmate at another DOC jail, not RMSC, on or about February 14-15, 2014, or
after plaintiff’s second incarceration. One correction officer was indicted and ultimately pleaded
guilty to falsifying business records. She was terminated from DOC, which is additional
evidence that DOC investigates/disciplines officers who have been alleged to have engaged in
abuse of inmates.
14
  Notably, plaintiff voluntarily dismissed the underlying claims in her complaint (Claims 22-24,
Complaint at ¶¶214-227).
15
  Plaintiff does not allege a separate conditions of confinement claim, nor did she ever identify
any defendant allegedly responsible for the hot cell.


                                                16
     Case 1:15-cv-00117-AJN-KNF Document 162 Filed 09/08/17 Page 25 of 33




               Second, plaintiff must demonstrate a culpable state of mind on the part of

defendants. In order to make such a showing, a plaintiff must meet the “subjective” test that was

laid out by the Supreme Court in Farmer v. Brennan, 511 U.S. 825 (1994). In Farmer, the

Supreme Court held that a prisoner who brought a claim regarding conditions of confinement

under the Eighth Amendment would prevail only if they demonstrated that defendant “disregards

a risk of harm of which he is aware.” Brennan, 511 U.S. at 836-67 (1990). 16

               There is no evidence in the record of the temperature of plaintiff’s cell, or any

other cell, on the dates of her incarceration. Nor is there any evidence that plaintiff suffered an

actual injury as a result of exposure to this allegedly hot cell. See Benjamin v. Fraser, 343 F.3d

35, 51 (2d. Cir. 2003)(citations omitted); Lewis v. Washington, 1996 U.S. Dist. LEXIS 18173, at

*9 (“it is clear that plaintiff must show he sustained a significant injury as a result of defendant’s

conduct in order to prevail under the Fourteenth Amendment’s Due Process Clause”). 17 Plaintiff

did not even identify any defendants responsible for this alleged hot cell.

               Even if plaintiff can show that she suffered a significant injury from a hot cell, she

cannot show that defendants had a culpable state of mind. There is no evidence in the record that



16
    Prior to Caiozzo, case law in this Circuit suggested that a plaintiff could prevail simply by
showing that a defendant failed to act “in the face of an unjustifiably high risk of harm that is
either known or so obvious that it should be known.” See e.g. Liscio at 275 -276. The Second
Circuit explicitly rejects this standard in Caiozzo and applies a higher, “subjective” standard.
Caiozzo, 581 F.3d at 72.
17
       In Lewis v. Washington, the Court noted that although plaintiff alleged, “quite
understandably, that he suffered ‘discomfort and pain,’ he fail[ed] to establish that his medical
condition worsened as a result of his exposure to the cold or that he sustained a significant injury
as a result of defendant's conduct.” Lewis, 1996 U.S. Dist. LEXIS 18173, at *10. As such,
defendant's failure to provide plaintiff, a pre-trial detainee, with warm clothing during a trip to
the hospital did not implicate plaintiff's constitutional rights, and summary judgment was
properly granted to defendant. Id. at *11.




                                                 17
       Case 1:15-cv-00117-AJN-KNF Document 162 Filed 09/08/17 Page 26 of 33




the City, or any DOC staff, was aware of the existence of overly-hot cells, but disregarded the

risk. Thus, this section of plaintiff’s Monell claim should be dismissed.

                                               POINT II

                         PLAINTIFF’S NEGLIGENT HIRING CLAIM
                         SHOULD BE DISMISSED BECAUSE THERE
                         IS NO EVIDENCE THAT THE CITY WAS ON
                         NOTICE THAT EITHER INDIVIDUAL
                         DEFENDANT HAD A PROPENSITY TO ACT
                         AS DESCRIBED BY PLAINTIFF IN THE
                         COMPLAINT

                  Plaintiff’s Negligent Hiring Claim (Claim No. 31, ¶¶259-264) should also be

dismissed because there is no evidence in the record supporting these claims. 18

                  As a preliminary matter, New York State law frowns upon this extension of

common law negligence as against public policy. See Maldonado v. City of New York, 11 Civ.

3514 (RA), 2014 U.S. Dist. LEXIS 26239, at *40-41 (S.D.N.Y. Feb. 26, 2014), citing Jenkins v.

City of New York, 91 Civ. 3539 (RLC), 1992 U.S. Dist. LEXIS 8279 (S.D.N.Y. June 15,

1992)(dismissing claims for “negligent investigation, negligent training, negligent supervision,

negligent disciplining, negligent retention of employees and negligent provision of incorrect

information” dismissed as barred by New York State policy as a plaintiff cannot evade

established requirements for a cause of action by inventing new theories of negligence).

                  Even if this Court determines negligent hiring is a cognizable claim under New

York law, this claim should still be dismissed. Under New York law in order to prove a claim of

negligent hiring, in addition to the standard elements of negligence, a plaintiff must show (1) that

the tort-feasor and the defendant were in an employee-employer relationship; (2) that the

employer knew or should have known of the employee’s propensity for the conduct which


18
     Plaintiff has dismissed the claim as it pertains to defendant Williams.


                                                   18
     Case 1:15-cv-00117-AJN-KNF Document 162 Filed 09/08/17 Page 27 of 33




caused the injury prior to the injury’s occurrence; and (3) that the tort was committed on the

employer’s premises or with the employer’s chattels. Ehrens v. Lutheran Church, 385 F.3d 232,

235 (2d Cir. 2004) (citing D’Amico v. Christie, 71 N.Y.2d 76, 88 (1987) and Kenneth R. v.

Roman Catholic Diocese of Brooklyn, 229 A.D.2d 159, 161 (2nd Dept. 1997)).

                Plaintiff cannot satisfy this test because even if a jury finds that the individual

defendants used excessive force against her, or otherwise violated her rights, there is no evidence

in the record to show that the City of New York knew or should have known, that any of the

individual defendants would have had a propensity for the alleged conduct that caused plaintiff’s

purported injuries.

                It is expected that plaintiff will cite to                                          that

predates plaintiff’s October, 2013 incarceration, as well as Porter’s prior uses of force incidents.

                              has already been discussed, but Porter’s prior uses of force would

also not have served to put the City on notice. In discovery defendants produced 21 of Porter’s

prior use of force files. 19 In 20 of the 21 incidents the only force he used was either control

holds or pepper spray.



                                                             The closing investigation reports for these

incidents are annexed to the Gertzer Declaration as Exhibit J. Defendants submit that these

incidents are insufficient to satisfy plaintiff’s burden.




19
   Porter frequently supervised probe teams which accounts for the number of incidents. All use
of force incidents at DOC jails are investigated, even if the force used was innocuous.


                                                   19
    Case 1:15-cv-00117-AJN-KNF Document 162 Filed 09/08/17 Page 28 of 33




                                           POINT III

                      PLAINTIFF’S CLAIMS FOR ASSAULT AND
                      BATTERY SHOULD BE DISMISSED TO THE
                      EXTENT THEY ALSO SEEK RESPONDEAT
                      SUPERIOR LIABILITY AGAINST THE CITY
                      (PLAINTIFF’S 2ND, 13TH AND 21ST
                      CLAIMS)

               Plaintiff has three remaining claims for assault and battery arising from her

incarceration at RMSC. To the extent these claims also seek to hold the City liable under the

theory of respondeat superior (Complaint at ¶112, 170 and 21), these claims should be dismissed

because the defendant officers could not have been acting within the scope of their employment

when the acts alleged in the Complaint occurred.

               Respondeat superior liability requires an individual to have acted within the scope

of his employment when committing the culpable conduct. Massey v. Starbucks Corp., No. 03

Civ. 7279 (SAS), 2004 U.S. Dist. LEXIS 12993, at *24 (S.D.N.Y. July 12, 2004). “Under the

doctrine of respondeat superior, an employer may be vicariously liable for the tortious acts of his

employees only if those acts were committed in furtherance of the employer’s business and

within the scope of employment.” N.X. v. Cabrini Med. Ctr., 97 N.Y.2d 247, 251 (2002).

Courts have held that “an employee’s actions are not within the scope of employment unless the

purpose in performing such actions is to further the employer’s interest, or to carry out duties

incumbent upon the employee in furthering the employers’ business. Thus, where an employee’s

conduct is brought on by a matter wholly personal in nature, the source of which is not job-

related, his actions cannot be said to fall within the scope of his employment.” Mahmood v. City

of New York, No. 01 Civ. 5899 (SAS), 2003 U.S. Dist. LEXIS 7745, at *8 (S.D.N.Y. May 8,

2003) (citing Stavitz v. City of New York, 98 A.D.2d 529, 471 N.Y.S.2d 272, 274 (1st Dep’t

1984)).



                                                20
    Case 1:15-cv-00117-AJN-KNF Document 162 Filed 09/08/17 Page 29 of 33




              Notably, “New York courts have consistently held that sexual misconduct and

related tortious behavior arise from personal motives and do not further an employer’s business,

even when committed within the employment context.” Adorno v. Correctional Services Corp.,

312 F. Supp. 2d 505, 517 (S.D.N.Y. 2004) (citing Ross v. Mitsui Fudosan, Inc., 2 F. Supp. 2d

522, 531 (S.D.N.Y. 1998)). Thus, New York courts “have repeatedly found no vicarious liability

for claims involving sexual misconduct.” Adorno, 312 F. Supp. 2d at 517; see also, C.C. v.

Ithaca City School Dist., 304 A.D.2d 955, 956, 758 N.Y.S.2d 197 (3rd Dep’t 2003) (holding

sexual assault by a teacher upon a student was a “clear departure from the scope of employment,

committed solely for personal reasons, and unrelated to the furtherance of the employer’s

business”); N.X. v. Cabrini Med Ctr., 739 N.Y.S.2d 348 (2002) (sexual assault perpetrated by

hospital employee was not in furtherance of hospital’s business and did not support respondeat

superior liability); Wilson v. Diocese of N.Y. of the Episcopal Church, No. 96 Civ. 2400 (SAS),

1998 U.S. Dist. LEXIS 2051, at *14-16 (S.D.N.Y. Feb. 23, 1998) (sexual assault by a priest was

not in furtherance of business of church or Diocese and did not support claim for respondeat

superior liability); Koren v. Weihs, 190 A.D.2d 560, 560-61, 593 N.Y.S.2d 222 (1st Dep’t 1993)

(no vicarious liability against hospital where psychotherapist engaged in sex therapy with a

patient). Wahlstrom v. Metro-North Commuter R.R., No. 96 Civ. 3589 (PKL), 1998 U.S. Dist.

LEXIS 5666, at *8 (S.D.N.Y. Apr. 23, 1998) (finding sexual assault outside the scope of

employment) (citing Tomka v. Seiler Corp., 66 F.3d 1295, 1298 (2d Cir. 1995)); Dia CC v.

Ithaca City Sch. Dist., 304 A.D.2d 955, 956, 758 N.Y.S.2d 197 (3rd Dep’t 2003) (same).

              The thoroughly illegal nature of the conduct alleged by plaintiff renders it

impossible for the individual defendants to have been acting within the scope of their

employment, thus this claim should be dismissed.




                                              21
     Case 1:15-cv-00117-AJN-KNF Document 162 Filed 09/08/17 Page 30 of 33




                                             POINT IV

                       PLAINTIFF’S CLAIMS FOR INTENTIONAL
                       INFLICTION OF EMOTIONAL DISTRESS
                       SHOULD BE DISMISSED (PLAINTIFF’S 3RD
                       AND 14TH CLAIMS)

               Plaintiff has alleged two claims for intentional infliction of emotional distress

(“IIED”). Both should be dismissed.

               As preliminary matter plaintiff’s claims should be dismissed as against the City,

because public policy prohibits recovery for claims of IIED against the City of New York.

Hazan v. The City of New York, 98 Civ. 1716 (LAP) 1999 U.S. Dist. LEXIS 10499, *23

(S.D.N.Y. July 9, 1999) (citing Lauer v. City of New York, 240 A.D.2d 543, 544, 659 N.Y.S. 2d

57, 58 (2nd Dept. 1997), app. denied, 91 N.Y.2d 807 (1998)); Sylvester v. The City of New York,

385 F. Supp. 2d 431, 441 (S.D.N.Y. 2005).

               In order to state a claim for IIED, a plaintiff must allege conduct which is “so

outrageous in character, and so extreme in degree, as to go beyond all possible bounds of

decency, and to be regarded as atrocious, and utterly intolerable in a civilized community.” A

plaintiff cannot maintain a claim for IIED “where, as here, the conduct for the underlying claim

may be redressed by way of traditional tort remedies such as battery, false arrest, and malicious

prosecution.” Druschke v. Banana Republic, 359 F.Supp. 2d 305, 2005 U.S. Dist. LEXIS 639, at

*18 (S.D.N.Y. Jan. 14, 2005) (quoting Campoverde v. Sony Pictures Entm’t, 2002 U.S. Dist.

LEXIS 18347, *37-38 (S.D.N.Y. Sept. 27, 2002)(quoting Black v. Town of Harrison, 2002 U.S.

Dist. LEXIS 16597, *13-14 (S.D.N.Y. Sept. 5, 2002))).         See also Murphy v. American Home

Products Corp., 58 N.Y.2d 293, 461 N.Y.S.2d 232, 236 (1983); Russell v. Meat Farms, Inc., 160

A.D.2d 987, 554 N.Y.S.2d 709 (2d Dep’t 1990) (citations omitted). “[I]n New York, ‘intentional

infliction of emotional distress is a theory of recovery that is to be invoked only as a last resort,’



                                                 22
     Case 1:15-cv-00117-AJN-KNF Document 162 Filed 09/08/17 Page 31 of 33




when traditional tort remedies are unavailable.” Moore v. The City of New York, 219 F. Supp. 2d

335, 339 (E.D.N.Y. 2002) (citing EEOC v. Die Fliedermaus, L.L.C., 77 F. Supp. 2d 460, 472

(S.D.N.Y. 1999)(quoting McIntyre v. Manhattan Ford, Lincoln-Mercury, Inc., 256 A.D.2d 269,

682 N.Y.S.2d 167, 169 (1st Dep’t 1998)). “Accordingly, ‘no intentional infliction of emotional

distress claim will lie where the conduct underlying the claim falls within the ambit of traditional

tort liability.’” Moore v. The City of New York, 219 F. Supp. at 339 (quoting Hansel v. Sheridan,

991 F. Supp. 69, 75 (N.D.N.Y. 1998)). Plaintiff’s surviving claims under §1983 for excessive

force, as well as her assault and battery claims, provide sufficient basis for recovery.

               Finally, even if the plaintiff was able to demonstrate that any of the defendants’

conduct was outrageous enough to constitute IIED, plaintiff’s failure to proffer any objective

contemporaneous medical evidence in support of their claims that she suffers from “extreme

emotional distress” mandates dismissal of her IIED claim. See Singh v. U.S. Security Associates,

Inc., 03 Civ. 2059 FM), 2005 U.S. Dist. LEXIS 1407, at * 43 (S.D.N.Y. Feb. 1, 2005) (Maas,

M.J.) (citing Bujnicki v. American Paving and Excavating, Inc., 2004 U.S. Dist. LEXIS 8870,

*43-44 (W.D.N.Y. Mar. 30, 2004)(subjective complaints of extreme emotional distress

insufficient to defeat summary judgment).



                                                                                                 .




20




                                                 23
    Case 1:15-cv-00117-AJN-KNF Document 162 Filed 09/08/17 Page 32 of 33




                                            POINT V

                       PLAINTIFF’S CLAIMS FOR PRIMA FACIE
                       TORT     SHOULD      BE   DISMISSED
                       (PLAINTIFF’S 11TH CLAIM)

               Plaintiff also brings two claims asserting prima facie tort. These claims should be

dismissed as superfluous, unnecessary and a misuse of the claim. Prima facie tort is not intended

to be a “catchall alternative for every cause of action which cannot stand on its legs.” Belsky v.

Lowenthal, 62 A.D. 2d 319, 323 (1st Dept. 1978).

       The claim of prima facie tort contains four elements: “(1) intentional infliction of harm;

(2) without excuse or justification; (3) resulting in special damages; (4) by an act that would

otherwise be lawful.” McKenzie v, Dow Jones & Co., 355 Fed. Appx. 533, at *7 (2d Cir. 2009),

quoting United States ex rel. Evergreen Pipeline Constr. Co. v. Meritt Meridian Constr. Corp.,

95 F.3d 153, 161 (2d Cir. 1996). Thus, in order for plaintiff to prevail on this claim, the act in

question that caused plaintiff’s alleged injuries would have had to have been caused by “an act

that would otherwise be lawful.” Here, defendants alleged actions of sexual assault would

obviously be illegal-thus plaintiff cannot satisfy the requirements of the claim. “Where the

complaint relies ‘only on specific and tortious acts, the remedy is not in prima facie tort.’”

National Nutritional Foods Ass’n v. Whelan, 492 F. Supp. 374, 383 (S.D.N.Y. 1980) citing Ruza

v. Ruza, 286 A.D. 767 (1st Dept. 1955). Prima facie tort is simply not applicable to the facts

alleged by plaintiff, and thus this claim should be dismissed.

                                            POINT VI

                       PLAINTIFF’S CLAIM FOR CONDITIONS OF
                       CONFINEMENT SHOULD BE DISMISSED

               For the reasons set forth in Point (I)(F), to the extent plaintiff asserts a Section

1983 conditions of confinement claim against the individual defendants (Complaint at ¶104),



                                                24
    Case 1:15-cv-00117-AJN-KNF Document 162 Filed 09/08/17 Page 33 of 33




such claim should be dismissed. There is no evidence in the record that plaintiff suffered a

“significant injury” as a result of allegedly ingesting soapy water, or being placed in a cell that

was allegedly unsanitary. See Benjamin, 343 F.3d at 51.

                                        CONCLUSION

               Because of the foregoing, it is respectfully requested that this Court grant

defendants’ motion together with such other and further relief as this Court deems to be proper.

Dated:         New York, New York
               September 8, 2017


                                             ZACHARY W. CARTER
                                             Corporation Counsel of the
                                               City of New York
                                             Attorney for Defendants City of New York,
                                             Department of Correction, Pablo Porter and Emma
                                             Williams
                                             100 Church Street
                                             New York, New York 10007
                                             (212) 356-2654


                                             By:                   /s/
                                                     Michael K. Gertzer
                                                     Senior Counsel




                                                25
